      Case 2:10-cr-00347-DAD Document 394 Filed 08/19/14 Page 1 of 3


 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
 3   Sacramento, California 95814-2282
     DwightSamuelAtty@Yahoo.com
 4   (916) 447-1193

 5   Attorney for Defendant
     DISHAN PERERA
 6
 7

 8
                                     UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        No. 10-CR-347 MCE
12
                        Plaintiff,                    STIPULATION AND ORDER FOR
13                                                    CONTINUANCE OF STATUS
            v.                                        CONFERENCE
14
     DISHAN PERERA,
15

16                      Defendant.
17

18
     IT IS HEREBY stipulated between the United States of America through its undersigned counsel,
19   Assistant United States Attorney Jill Thomas, defendant DISHAN PERERA through his

20   undersigned counsel Dwight Samuel and defendant IMESH PERERA through his attorney J.Toney,
21   that the scheduled status conference for August 14, 2014 , be vacated and the matter set for status
22
     conference on September 4, 2014 at 9:00 am.          The reason for this request is that both defendant
23
     Mr. Dishan Perera’s and Imesh Perera’s counsels has been engaged in ongoing plea negotiaons. Most
24
     recently Imesh Perera, brother and co-defendant of Dishan Perera, has requested new counsel be
25
     appointed. Counsel for Dishan Perera has requested the two level variance terms be included in the
26
     plea agreement and it is anticipated it will be done thereby constituting the final plea agreement. Due
27
     to counsel’s schedule and ongoing negotiations and both defendants placement in the Nevada County
28

                                                         1
      Case 2:10-cr-00347-DAD Document 394 Filed 08/19/14 Page 2 of 3


 1
     Jail Counsel now needs addtional time to further discuss this final offer. It is anticipated at this final
 2
     status date a plea will be entered.
 3

 4          The parties further agree and stipulate that the time period from the filing of this stipulation
 5   until September 4, 2014, should be excluded in computing time for commencement of trial under the
 6
     Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 7
     Code T-4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 8
     preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 9

10   outweigh the best interests of the public and the defendant in a speedy trial.

11          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

12
            So stipulated,
13

14          Date: August 11, 2014                                           /s/ Dwight M. Samuel
                                                                    Dwight M. Samuel
15
                                                                    Attorney for Defendant
16                                                                  DISHAN PERERA

17          Date: August 11, 2014                                  ______________/s/________________
                                                                   J. Toney
18                                                                 Attorney for Defendant
                                                                   IMESH PERERA
19
20          Date: August 11, 2014                                           /s/
                                                                    Assistant U.S. Attorney
21                                                                  Jill Thomas
22

23

24

25

26

27

28

                                                           2
      Case 2:10-cr-00347-DAD Document 394 Filed 08/19/14 Page 3 of 3


 1                                                    ORDER
 2
 3          The Court, having received, read, and considered the stipulation of the parties, and good

 4   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on

 5   the stipulation of the parties and the recitation of facts contained therein, the Court finds that the
 6   failure to grant a continuance in this case would deny defense counsel reasonable time necessary for
 7
     effective preparation, taking into account the exercise of due diligence. The Court finds that the ends
 8
     of justice to be served by granting the requested continuance outweigh the best interests of the public
 9
     and the defendants in a speedy trial.
10

11          The Court orders that the time from the date of the parties' stipulation, to and including

12   September 4, 2014, shall be excluded from computation of time within which the trial of this case

13   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (iv),
14
     and Local Code T4 (reasonable time for defense counsel to prepare).
15
            It is further ordered that the August 14, 2014, status conference shall be continued to
16
     September 4, 2014, at 9:00 a.m.
17
            IT IS SO ORDERED.
18

19   Dated: August 13, 2014

20

21
22

23

24

25

26

27

28

                                                           3
